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Date:           August 25, 2015
To:             The Honorable Judge T.S. Ellis III
Subject:        Muneeb Akhter’s Sentencing

My name is Siraj Akhtar. I reside in Richardson (suburb of Dallas), Texas. I completed my Bachelors of
Science in Electrical Engineering (summa cum laude) from the University of Mississippi in May 1993 and
my Masters and Doctorate, also in Electrical Engineering, from The Ohio State University in March 1996
and June 2000 respectively. I have been working at Texas Instruments in Dallas since July 2000, where I
have been an RFIC Designer, Design Lead and Design Manager and am a respected Member of the
Technical Staff. I have been married since 1999. Iffat (my wife) and I are the proud parents of 4 children –
two girls aged 12 and 4 (Israa and Aaliya) and two boys aged 10 and 8 (Ziyaad and Saadiq).

I am the fraternal uncle of Muneeb and Sohaib Akhter (whom we affectionately refer to as ‘the twins’ or
‘the boys’) and have known them since they were born and have watched them grow from babies to
adults. My earliest recollection is playing with them in December of 1992 (they had just turned one) when
they were just starting to walk. I remember how they would hold the side of their cribs and jump up and
down. I would typically see them at least once a year. Even after they moved to Saudi Arabia (at the age of
about five), we would continue seeing them on their vacation back to the States. Later on that changed
and sometimes we would see them every two years. Usually in summer break but later on in winter break.
I have seen them grow over the years to becoming gentle, caring and concerned boys. In this statement I
will cover a few snippets of the interaction my family and I have had with the boys, with an emphasis on
some of the family reunions we had in the later years.

The twins with their cousins:

Being the oldest of cousins, the twins are surrounded by 11 cousins on their father’s side ranging in age
from Osman (17 years old) to Aaliya (4 years old). Whenever we have family reunions, all the cousins
gravitate to them. Especially the boy cousins who always stick to Muneeb and Sohaib. The twins are very
sharing and very happy to share their gadgets (phones, laptops, headphones, games) with even the
youngest of cousins. They are extremely gentle and affectionate which in turns makes their cousins
adore them.

North Carolina (December 2008 – January 2009):

When we had a family reunion in North Carolina in December 2008/January 2009, Muneeb and Sohaib
took their youngest cousins (at that time my son Ziyaad was 3) for walks around a small lake near their
uncle’s home. Being older, the boys were much faster walkers, but they enjoyed walking slowly to match
the pace of the little kids. When we went to the rec center they would always help, especially with the
little kids, pushing the swings and playing with them both indoor and outdoor. When we would go out for
dinner they would take care of the little kids, encouraging them to eat while keeping them entertained.

Texas (December 2011 – January 2012):

Our garage door had been giving problems for quite a while. I realized that the issue was a faulty trip
sensor, which I bought from Home Depot but never installed. When the twins came over for vacation they
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were wondering what they could help with. I mentioned the garage door sensor and they immediately
jumped at the opportunity to change it. They got the sensor from me and even before I could give them
any tools, they brought out a simple screwdriver set and using the flashlight of their phone, they went
ahead and did the installation. I was really pleased with their speed and eagerness to help.

I had decided to swap out the lights on our family room ceiling fan. The family room has a high ceiling
necessitating the need for a ladder. Even with the (short) ladder I had, it was a significant stretch reaching
the top. Being taller than me, Muneeb and Sohaib were both eager to help and wanted to go up the
ladder to install the light bulbs. I was worried that in case one of them lost their footing and fell, it would
be difficult to break his fall. So I instead went up and they stood at the bottom ready for me in case I had a
slip.

We made a trip to Six Flags and all the cousins wanted to be with Muneeb and Sohaib as usual. At Six Flags
we separated and I and my brother took the younger kids to the kids rides while Muneeb and Sohaib, with
their parents, took the older cousins. The boys were in charge of the older cousins and making sure they
had fun on the rides. My wife and I would always trust leaving our kids with the boys because we knew
how well they would be taken care of.

This was around the time when Angry Birds first became popular. Muneeb and Sohaib had Angry Birds on
their smart phones. My sons Ziyaad (who was 6 then) and Saadiq (who was 4 then) wanted to play the
game. Muneeb and Sohaib did not mind at all giving their phones to their young cousins. I would caution
them saying that the little kids could break their devices. But they didn’t mind, they were just so happy
that the little kids were having fun. They valued their cousins having fun over their own priceless
possessions.

It was during this family reunion that my wife’s brother and his family also came over from New Jersey for
a couple of nights. My wife’s brother, Omar, is an ophthalmologist specializing in glaucoma surgery. This
was the first time he ever met the boys and was very impressed with them. This was also a time when we
pondered on different ideas of gadgets that could make a difference in people’s lives. We dreamed up
inventions that people would want and would make a difference in society. In those conversations you
could see the boys’ creativity in wanting to do things to help others.

We wanted to place a new carpet under the dining table. The table was very heavy. Both Muneeb and
Sohaib eagerly helped us move the table, place the carpet and move the table back. We couldn’t have
done it without their strength.

Texas (December 2013 – January 2014):

I spent a lot of time talking with Muneeb about his company, Warden Systems. Muneeb was so passionate
about it. He described all the work he was doing for different clients. So I asked him how much he was
making. He replied ‘so far nothing significant’. I was concerned when I heard that because in my mind I
could see that these clients were taking full advantage of Muneeb. I discussed this with him, but he wasn’t
bothered at all. Muneeb is an extremely trusting person and unfortunately this is what has hurt him.
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Muneeb was looking so much forward to getting another DARPA contract. He had got the first one a
couple of year’s back, which in itself was mindboggling – such a young kid, doing such great work. I
recommended to Muneeb that he should move past thinking about getting another contract. I told him to
move away from the government cyber security sector on to a different area in the private sector. But
Muneeb really believed that his work would make a real difference and he had to pursue this.

We went for a family dinner and Muneeb and Sohaib as usual took care of my sons Ziyaad (then 8) and
Saadiq (then 6). As always my boys were glued to their older cousins throughout their stay in Texas.
Wherever we went my sons would always travel in the same car as Muneeb and Sohaib. And Muneeb and
Sohaib were gentle and caring towards them.

We had gone to an event after which they were raising money for a youth center not too far from our
home. The youth center is focused on helping kids and young adults have a safe environment while having
fun. It was only later in the day after we had come home that in some conversation I found out that
Muneeb had donated some money to the youth center. It wasn’t a large amount or anything like that, but
what impressed me the most is that Muneeb felt that it was a valuable cause to which he should
contribute even though he would never benefit from a youth center in Texas while he lives in Virginia.
Small by itself, yet this only reflected who the boys really are – kind, caring, helpful & respectful.

Virginia (May 2015):

I travelled to Virginia to visit with the boys soon after their arrest. Throughout my stay Muneeb kept
expressing his deep remorse about what happened and the hurt it had caused to others. He fully
recognized he had made a terrible mistake and felt the pain it had caused, yet the clock can’t be turned
back. In spite of everything, he did not express any anger or blame at anyone but was humble and kept
praying for the best.

Some final thoughts:

Muneeb is young caring, compassionate, sincere and trusting individual. He does not engage in drugs,
alcohol, smoking, gambling, womanizing, pornography, foul language, fighting or any other social vices. He
is highly intelligent with a graduate degree and technically very smart. He is well connected to his family
and his community. He has contributed to society through simple things such as helping a youth center to
working for our country and doing valuable research in security. He has made a horrible, horrible mistake
by doing somethings that he should never have done in the first place. He fully recognizes this and is very
deeply regretful about this and the harm it has caused to others and to his own family. Muneeb is a
young man who will have an amazing future benefiting society and contributing to our country.

Honorable Judge Ellis, I request in the humblest way possible that you please allow Muneeb to
expediently return back to serve society and prove himself.

Thank you very much.

Sincerely,

Siraj Akhtar
